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      Attorneys for Plaintiffs
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  8                           UNITED STATES DISTRICT COURT
  9                         CENTRAL DISTRICT OF CALIFORNIA
 10                                  WESTERN DIVISION
 11

 12   LUCAS R., et al.,                          No. 2:18-CV-05741 DMG PLA
 13
                      Plaintiffs,                NOTICE OF JOINT MOTION FOR
 14                                              PRELIMINARY APPROVAL OF
            v.                                   SETTLEMENTS AND APPROVAL OF
 15
                                                 CLASS NOTICES OF SETTLEMENT OF
      XAVIER BECERRA, Secretary of
 16                                              PLAINTIFFS’ THIRD, FOURTH, AND
      U.S.
                                                 FIFTH CLAIMS FOR RELIEF
 17   Department of Health and Human
                                                 [PSYCHOTROPIC MEDICATIONS,
      Services, et al.,
 18                                              LEGAL REPRESENTATION, AND
                      Defendants.                DISABILITY]
 19
 20                                              HEARING: JANUARY 5, 2024
                                                 TIME: 10:00 A.M.
 21                                              PLACE: COURTROOM 8C, 8TH FLOOR
 22
                                                 HON. DOLLY M. GEE
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                                                     NOTICE OF JOINT MOTION FOR PRELIMINARY
                                                                   APPROVAL OF SETTLEMENTS
                                                            CASE NO. 2:18-CV-05741 DMG PLA
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  1         Please take notice that on January 5, 2024, at 10:00 a.m. or as soon thereafter as
  2   counsel may be heard, the Parties will and do hereby jointly move the Court for entry
  3   of an order (1) preliminarily approving their Settlement Agreements; (2) approving
  4   the form and manner of the Notices of Proposed Class Action Settlement; (3) setting
  5   the deadline for written submissions from Class Members or their legal
  6   representatives or advocates who wish to be heard in favor of or in objection to the
  7   Agreements; (4) setting a schedule for Plaintiffs to file their motion for fees and costs;
  8   and (5) setting the date for a final fairness hearing pursuant to Federal Rule of Civil
  9   Procedure 23(e)(2).
 10         This motion is based upon the memorandum of law, declaration of Mishan
 11   Wroe in support of the motion, and exhibits filed concurrently herewith, as well as all
 12   other matters of record.
 13         This motion is made following a conference of counsel under Local Rule 7-3
 14   and paragraph 4.b of the Court’s initial standing order, which took place on November
 15   8, 2023.
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  1   Dated: November 14, 2023                 Respectfully submitted,
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                                              ______________________
  3                                            MISHAN WROE
                                               One of the attorneys for Plaintiffs
  4

  5                                            CARLOS R. HOLGUÍN
  6
                                               Center for Human Rights &
                                               Constitutional Law
  7

  8                                            HOLLY S. COOPER
                                               CARTER C. WHITE
  9                                            U.C. Davis Immigration Law Clinic
 10                                            and Civil Rights Clinic

 11                                            BRENDA SHUM
 12                                            POONAM JUNEJA
                                               FREYA PITTS
 13                                            MISHAN WROE
 14                                            MELISSA ADAMSON
                                               DIANE DE GRAMONT
 15                                            National Center for Youth Law
 16
                                               SUMMER J. WYNN
 17                                            MICHAEL J. MCMAHON
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 19                                            JAMIE D. ROBERTSON
 20                                            Cooley LLP

 21                                           Attorneys for Plaintiffs
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  1   Dated: November 14, 2023                 BRIAN M. BOYNTON
  2                                            Principal Deputy Assist. Atty. Gen.

  3                                            ERNESTO H. MOLINA, JR.
  4                                            Deputy Director
                                               Office of Immigration Litigation
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 12
                                               /s/ Benjamin Mark Moss*
 13                                            Benjamin Mark Moss
 14

 15                                            NANCY K. CANTER
 16
                                               Senior Litigation Counsel

 17                                            JONATHAN K. ROSS
 18
                                               ANTHONY C. MESSURI
                                               Trial Attorneys
 19
 20                                            Attorneys for Defendants
 21
                                               *Signed with consent of counsel
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